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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

WEST COAST LIFE INSURANCE COMPANY,
Plaintiff, ; Case No. 3:20-cv-04350
Vv.

WELLS FARGO BANK, N.A.,
as securities intermediary, and DINA LOSH,

Defendants.

AnD ORDER
JOINT SE ON LO STAY PROCEEDINGS

Plaintiff, West Coast Life Insurance Company (“West Coast Life”), and

Defendants, Wells Fargo Bank, N.A. (“Wells Fargo”) and Dina Losh, by and
through undersigned counsel, jointly stipulate to stay these proceedings pending
settlement discussions and state as follows:

1, On September 27, 2023, West Coast Life, Wells Fargo, and Ms. Losh
(collectively, the “Parties”) participated in a settlement conference (the
“Settlement Conference”) before the Honorable Douglas Arpert. The
Parties were unable to reach a settlement at that time. During the
Settlement Conference, West Coast Life broached a settlement topic which
Wells Fargo was not prepared to discuss during the Settlement Conference.

2. West Coast Life and Wells Fargo have conferred since the Settlement

Conference, and the Parties are endeavoring to further explore settlement.

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The nature of the settlement discussions requires that West Coast Life and

Wells Fargo work cooperatively for a period of 90 days to identify issues

for resolution.

3. The Parties agree that it is in the best interest of the Parties and judicial

economy that this matter be stayed in its entirety pending settlement

discussions between West Coast Life and Wells Fargo. In the event the

parties are unable to resolve this matter, the Parties will report to the Court

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no later than January 25, 2024 with a proposed date for the Final Pretrial

i,

Conference.

Accordingly, the Parties respectfully request that the Court stay all proceedings.

Dated: October 19, 2023

Respectfully submitted,

/s/ Michael J_ Broadbent

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